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  Message
  From :          Susan Wojcicki [     @google.com ]
  Sent:           6/23/2020 12:39:12 AM
  To:             Hiroshi Lockheimer       @google.com]



  •         Susan \Vojcicki, 2 020 - 06 - 22 17 : 39: 12
  hey when you have a minute it would be good to talk on play billing
  •         Susan Wojcicki, 202 0- 0 6-22 1 7 : 3 9 : 38
  my team was really upset and felt the process was subverted since Sameer said he was coming back to them on
  this modular plan
  •         Susan Wojcicki, 2020 - 0 6-22 1 7: 48 : 0 1
  and now i&#39;m telling them its decided
  •         Susan Wojcicki, 2 020 - 06 - 22 17 : 48 : 46
  its damaging for our business against our competitors
  •         Susan Wojcicki, 2 020 -06-22 17 : 55: 52
  we should have a meeting between them, you, me
  •         Susan Wojcicki, 2020 - 06- 22 17 : 55 : 56
  so you understand our issues
  •         Susan Wojcicki, 2020 - 06 -22 1s : oo : 1 3
  would have to be this week
  •         Hiroshi Lockheimer, 20 20 - 06 - 22 20 : 2 0 : 28
   Hi Susan, apologies for the delay, 1&#39;ve been dealing with a time sensitive matter. I get this is time sensitive
   too. Q On this, I think there are some crossed wires. <br><br>Per Sameer:<br>---<br>* We wrote a doc and
   discussed it with Adam Smith (VP for subscriptions) last week. <br>* I called Adam personally and spoke with
   him th is weekend. <br>* I met with John Harding personally this weekend at Martis Camp to make sure he was
   up to speed<br>*
  -         · I emailed him saying &quot;I&#39;m happy to update you but don&#39;t want to bother you with this
   -- tell me when you are ready&quot;. He responded today with something like &quot;since you already talked
   with sundar 1 guess it&#39;s not needed&quot; <br>* I spoke with Neal on Friday as well. <br>---
   <br><br>Anyway, Sameer says he&#39;s going to reach out to Neal again now. In parallel we can get time
   scheduled too
  •         Susan \Vojcicki, 2020 - 06 - 22 21 : 08 : 32
  Yes they did meet. I am not saying they didn&#39;t
  •         Susan Wojcicki, 2020 - 06 - 22 2 1 : 08 : 57
  but they were under the impression that there could be an agreement to help resolve the issues
  •         Susan Wojcicki, 2020 - 06 - 22 2 1 : 09 : 02
  and there clearly wasn&#39;t
  •         Susan Wojcicki, 2 02 0 - 06 - 22 21: 0 9: 19
  and they dearly didn&#39;t understand there was an announcement a week away
  •         SusanWojcicki, 2020-06-22 2 1 : 1 0 : 32
  its obviously a big change and our team feels it w ill hurt us competitively

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  •      Susan \Vojcicki, 2 02 0- 06 - 22 21: 10: 40
  and the team went around them
  •      Susan Wojcicki, 2020 - 06 - 22 2 1 : 11 : 09


  •      Susan Wojcicki, 2020 - 06 - 22 21: 11 : 37
  so not sure why that is relevant for a major change
  •       Hiroshi Lockheime.-, 2020 - 06 - 22 2 1 : 11 : 43


  •      Susan Wojcicki, 2020 - 06 - 22 21 : 11 : ss
  no sameer just brought that up
  •       Hiroshi Lockheimer, 2020 - 06 - 22 21: 12 : 19
  Maybe IM is not the best method to discuss this.
  •      Susan Wojcicki, 2020 - 06 - 22 21: 12 : 21
  I&#39;rn just saying this discussion has been going on for awile
  •      S usanWojcicki, 2020 - 06 - 22 2 1 : 1 2 : 27
  he was out Thurs and Fri
  •      Susan Wojcicki, 2020-06-22 2 1 : 1 2 : 30
  so not rea.Uy relevant!!
  •       Hiroshi Lockheime1·, 2020 - 06 - 22 21: 13 : 03
  (i think the relevance is that there was &quot;homework&quot; that Sameer was doing re the proposal, but was
  not -- for understandable reasons -- able to reach Scott)
  •      Susan Wojcicki, 2020 - 06 - 22 2 1 : 1 3 : 1 6
  yes but there is also neal
  •      Susan \Vojcicki, 2020 - 06-22 21: 13: 21
  there is also email
  •      Susan Wojcicki, 2020 - 06 - 22 2 1 : 13 : 32
  and there was a framework more than a few days ahead
  •      Susan Wojcicki, 2020 - 06 - 22 21 : 13 : 39
  anyway look I want to find a solution
  •      Susan Wojcicki, 2020 - 06-2 2 21 : 13 : 42
  and want to meet
  •      Susan ·w ojcicki, 2020-06-22 2 1 : 1 4 : oo
  but I&#39;m saying Sameers comment wasnt a great excuse
  •       Hiroshi Lockheime1·, 2020-06 - 22 21: 14: 07
  1&#39;rn happy to hop on a VC now if you want to chat, and / or we can set up time for us and a small group
  •      Susan Wojcicki, 2020 - 06 - 22 21: 14 : 21
  I think it would be best to have a small group
  •      Susan Wojcicki, 2020 - 06 - 22 21: 14 : 27



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  you, me, Neal, Scott
  •      Susan Wojcicki, 2020-06-22 21: 14: 30
  is a huge change for us
  •      SusanWojcicki,2020-06-22 21:14:43

  and you and I never met and my team isn&#39;t on board
  •      SusanWojcicki,2020-06-22 21:14:55

  so we need to find a way to make this work
  •      HiroshiLockheimer, 2020-06-22 21:15:08
  It&#39;s a huge change for us too! I think that&#39;s what may be lost here. This is not something we are
  driving. lt&#39;s P2B etc. we are forced into this.
  •      SusanWojcicki,2020-06-22 21:15:09

  and Sameer too of course
  •      HiroshiLockheimer,2020-06-22 21:15:31

  It&#39;s a huge change for us too! I think that&#39;s what may be lost here. This is not something we are
  driving. It&#39;s P2B etc. we are forced into this.
  •      HiroshiLockheimer,2020-06-22 21:15:34

  1&#39;11 get time for us
  •      HiroshiLockheimer, 2020-06-22 21:15:37
  and the small group
  •      SusanWojcicki,2020-06-22 21:20:24

  thanks. We will obviously need extra eng from Sundar for this since we can&#39;t do with our HC. And
  Spotify is our competitor who is being exempted so we need to know how we can innovate on billing and not be
  stuck with a lot of larger prioritizations decisions that might be right for play billing but bad for You Tube.
  •      SusanWojcicki,2020-06-22 21:21:11

  we&#39;11 have more examples of the type of innovation we need for our business
  •      HiroshiLockheimer, 2020-06-22 21:22:54
  BTW re Spotify being your competitor. I&#39;m fully aware of that. □ One thing to keep in mind is YT does
  benefit from being part of Google too. For example both YT and YTM are preloaded via MADA. Spotify does
  not have that option. And this isn&#39;t a Play &quot;vs&quot; YT issue. It&#39;s literally a compliance
  thing. Anyway, let&#39;s discuss. I feel this has oddly become personal for our teams, it&#39;s unfortunate.
  •      SusanWojcicki,2020-06-22 21:23:35

  I will work for us to find a solution
  •      SusanWojcicki,2020-06-22 21:23:45

  I understand if this is a compliance issue this needs to be done
  •      SusanWojcicki,2020-06-22 21:24:20

  I am just letting you know that it was a tough issue and the way we closed it really sat badly with them because
  they thought they had another chance to discuss and then they were told by me today to do it
  •      Susan Wojcicki, 2020-06-22 21: 24: 37
  so it could have been handled a bit better in giving us a head up
  •      HiroshiLockheimer,2020-06-22 21:25:33




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  we should post mortem that with the team when we meet. my understanding is that this was discussed at length
  between our teams.
  •        HiroshiLockheimer, 2020-06-22 21:25:47
  so would love to understand where the gap in understanding came from
  •        Susan Wojcicki, 2020-06-22 21:25:52
  yes it would be good to post mortem ..
  •        HiroshiLockheimer, 2020-06-22 21:25:57
  SG
  •        HiroshiLockheimer, 2020-06-22 21:26:11
  I just asked Tracey to sync with your admin team to schedule something asap
  •        Susan Wojcicki, 2020-06-22 21:27:03
  thanks
  •        SusanWojcicki,2020-06-22 21:59:05

  Hi Hiroshi can I call you just for five min .. I felt that text was not the best way to do that conversation.
  •        HiroshiLockheimer, 2020-06-22 22:01:14
             r·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-· .
  Hi, sure! ! Redacted - Privacy i
             i•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-• I




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